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         Exhibit 40
6/16/2017                          Public comment at BPCA board meetings? Not so fast. | BatteryPark.TV We Inform
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    Public comment at BPCA board meetings? Not so fast.
    Posted on January 10, 2017 by Editor

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    Update December 7, 2016­ Today was the first BPCA board meeting since the decision to allow heavily
    screened questions from public members to be read aloud. There was no Q&A since the BPCA did not reply to the
    speakers.

    CEO Mehiel continued to refer to the session as an “experiment”, to which Manhattan Borough President replied,
    “This is not an experiment (public comment should be allowed)”.

    The live streaming video and audio was so poor that the speakers could not be understood. We verified with other
    sources that the problem was not on our end. The NYPD, for example, could not even logon. A BPCA
    spokesperson denied any problems.

    November 10, 2016­ by Steven E. Greer

    I finally watched the archived video of October BPCA board meeting where they announced that they would be
    allowing public comment. It was covered in the news as a major breakthrough. However, watching the discussion,
    this seems to be a dog and pony show that will entertain only heavily pre­screened questions, and the BPCA board
    members will not reply. The press will not be allowed to ask questions and expect answers.


http://batterypark.tv/real­estate/public­comment­at­bpca­board­meetings­not­so­fast.html                               1/2
6/16/2017                           Public comment at BPCA board meetings? Not so fast. | BatteryPark.TV We Inform
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    Newly appointed board member Hector Batista was concerned that, if they did not limit the allowed comments to
    those addressing the agenda, it would, “open up a can of worms”.

    BPCA Chairman Dennis Mehiel agreed and replied, “We are going to get beat up”, and, “This board reserves the
    right to change this policy for any reason, or no reason at all,… if it is abused”

    Then, either board member Martha Gallo or President Shari Hyman (cannot determine from video) said, “Three
    (test session board) meetings and then we reassess.”, “Should we respond to the public comments?”, to which
    Mehiel replied, “The possibility that we reply is remote…this will not be a debate…if it becomes abusive, then we
    will eliminate it”

    Other topics of note from the meeting:

         The proposed 2017 budget will be the same as 2016 due to all of the budget cutting. For example, the BPCA
         eliminated the parks conservancy budget altogether. Then, the process of folding the parks staff into the BPCA
         payroll cut $500,000, which means a whole lot of people were fired. That is why the flowerbeds were
         completely abandoned and allowed to turn into weed beds.
         Total BPCA Revenue for 2016 was up, year­over­year, $14.5 Million. Of that, $177 Million will be stolen by the
         city.
         The Pier­A Irish bar is not paying the BPCA any rent yet. So, because of some donations to political parties, the
         company operating Pier­A gets free use of a $70­Million facility, and has failed to comply with basic promises,
         such as operating it as a restaurant (the gave up on the restaurant idea).

    This entry was posted in ­ City government, ­ Community Board 1, ­ Downtown oversight, ­ Real estate, ­ State Government, Battery Park City and BPCA. Bookmark the
    permalink.




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